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 5   Attorney for Brian Tackett

 6                              IN THE UNITED STATES DISTRICT COURT
 7                                       FOR THE DISTRICT OF ARIZONA
 8
     United States of America,                                               4:22-cr-00462-JGZ-LAB
 9
                       Plaintiff,                                    MOTION TO CONTINUE TRIAL
10                                                                      AND PLEA DEADLINE
                       vs.
11                                                                          (Unopposed. First Request)
               Brian Tackett,
12                                                                            In-Custody Defendant
                       Defendant.
13
14
15              It is expected that excludable delay under Title 18, United States Code,
16   §3161(h)(7)(A) will occur as a result of this motion or an order based thereon.
17
                Defendant, Brian Tackett, by and through counsel, hereby moves                                   for a
18
19   continuance       of    the         plea   deadline         currently    set     for     April 29,   2022, and

20   the       trial     date            currently         set        for           May 17,        2022. Pursuant
21
     to Title 18, United            States      Code,      §3161(h)(7)(A),           Mr.      Tackett requests      a
22
     30-day continuance             in      order    to      allow       additional         time    to prepare     for
23
24   trial. AUSA,            Micah Schmidt,                has        no objection           to     the   requested

25   continuance.
26
27
28
                                                             1
     (. . .)
     Case 4:22-cr-00462-JGZ-LAB Document 40 Filed 05/02/22 Page 2 of 2




 1
             For this reason, Mr. Tackett respectfully requests a continuance of the plea
 2
      deadline and trial date.
 3
 4
 5
 6
 7                RESPECTFULLY SUBMITTED this 2nd day of May 2022.
                                                     Law Office of
 8
                                                     ADAM DIPPEL, PLLC
 9
                                                     /s/ Adam Dippel
10                                                   Attorney for Defendant
11
12
     Copy of the foregoing has been provided
13   by electronic transmittal via the CM/ECF System
14   Micah Schmidt, Assistant
     United States Attorney’s Office
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